                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 08-cv-00451-RPM

TLINGIT-HAIDA REGIONAL HOUSING AUTHORITY,

      Plaintiff,

 v.

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT,
BEN CARSON, Secretary of Housing and Urban Development,
DEBORAH A. HERNANDEZ, General Deputy Assistant Secretary for Public and Indian
Housing,
GLENDA GREEN, Director, Office of Grants Management, Office of Native American
Programs,

      Defendants.


Civil Action No. 08-cv-00826-RPM

NAVAJO HOUSING AUTHORITY,

      Plaintiff,

v.

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT,
BEN CARSON, Secretary of Housing and Urban Development,
DEBORAH A. HERNANDEZ, General Deputy Assistant Secretary for Public and Indian
Housing,
GLENDA GREEN, Director, Office of Grants Management, Office of Native American
Programs,

      Defendants.




                                         1
Civil Action No. 08-cv-02573-RPM

MODOC LASSEN INDIAN HOUSING AUTHORITY, the tribally designated housing entity
for the Grindstone Indian Rancheria of Wintun-Wailaki Indians of California,

      Plaintiff,

v.

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT,
BEN CARSON, Secretary of Housing and Urban Development,	
DEBORAH A. HERNANDEZ, General Deputy Assistant Secretary for Public and Indian
Housing,
GLENDA GREEN, Director, Office of Grants Management, Office of Native American
Programs,

      Defendants.


Civil Action No. 08-cv-02577-RPM

CHOCTAW NATION OF OKLAHOMA,
HOUSING AUTHORITY OF THE CHOCTAW NATION OF OKLAHOMA,

      Plaintiffs,

v.

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT,
BEN CARSON, Secretary of Housing and Urban Development;
DEBORAH A. HERNANDEZ, General Deputy Assistant Secretary for Public and Indian
Housing,
GLENDA GREEN, Director, Office of Grants Management, Office of Native American
Programs,

      Defendants.


Civil Action Civil Action No. 08-cv-02584-RPM

SICANGU WICOTI AWANYAKAPI CORPORATION,
OGLALA SIOUX (LAKOTA) HOUSING,
TURTLE MOUNTAIN HOUSING AUTHORITY,

                                           2
WINNEBAGO HOUSING AND DEVELOPMENT COMMISSION,
LOWER BRULE HOUSING AUTHORITY,
SPIRIT LAKE HOUSING CORPORATION, and
TRENTON INDIAN HOUSING AUTHORITY,

       Plaintiffs,

v.

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT (HUD),
SHAUN DONOVAN, Secretary of Housing and Urban Development,
DEBORAH A. HERNANDEZ, General Deputy Assistant Secretary for Public and Indian
Housing, and
GLENDA GREEN, Director, Office of Grants Management, Office of Native
American Programs,

       Defendants.


                      DEFENDANTS’ MOTION FOR RESTITUTION1


       The Tenth Circuit “reverse[d] that part of the district court’s order[s] [that] order[ed] the

agency to repay the recipients to the extent the agency had already redistributed or otherwise

expended the recaptured funds.” Modoc Lassen Indian Housing Authority v. United States Dep’t

of Hous. & Urban Dev., 881 F.3d 1181, 1186 (10th Cir. 2017) (Modoc Lassen). After a

judgment is reversed on appeal, as here, the Court may, sua sponte or on motion, order

restitution. The Tenth Circuit already determined that restitution here is the proper course;

otherwise, its remand for the Court to determine the extent to which specific relief was or was



1
 The Fort Peck and Blackfeet et al. cases are currently stayed. Fort Peck Hous. Auth. v. U.S.
Dep’t of Hous. & Urban Dev. et al., No. 05-cv-00018-RPM, (Fort Peck), ECF No. 159 (Apr. 24,
2018); Blackfeet Hous. et al. v. U.S. Dep’t of Hous. & Urban Dev. et al., No. 07-cv-01343-RPM
(Blackfeet et al.), ECF No.168 (Apr. 24, 2018). Accordingly this motion does not apply to those
cases. For context and clarity, however, HUD includes in its discussion below the situation
applicable to the plaintiffs in those cases.
                                                 3
not available at the time of the judgments would be superfluous. And here, the practical effect of

the judgment orders was not to deplete the United States Treasury, but rather to reduce the grant

funding that other Indian tribes should have received—and will receive once it is restored.

Moreover, the plaintiff tribes do not have the defense against restitution that they took the

judgment funds with no reasonable awareness that their right to the funds was subject to reversal

on appeal to the Tenth Circuit. Accordingly, HUD asks that the Court order restitution of the

judgment amounts to the extent they were reversed by the Tenth Circuit. Based on the facts

adduced in HUD’s Report and Declaration, this would mean restoration of any amount the Court

ordered based on a recapture from any funds other than fiscal year 2008 Indian Housing Block

Grant funding.

Factual background

       A. The district court judgment orders

       On seven different dates from June 2014 to January 2015, this Court issued final

judgment orders in the seven cases here on remand. These are listed, with the amounts ordered

for each plaintiff tribe, in Defendants’ Report and Declaration, filed on March 30, 2018, and

appended here. See Ex. 1 (HUD Report and Declaration) at 6-8. For ease of reference, we will

refer to the filing in its entirety as the “HUD Report and Declaration”; we will refer to the table

alone as the “HUD Table”; and we will refer to the declaration alone as the “HUD Declaration.”2


2
  HUD filed the same Report and Declaration in each of the seven cases. The filing included two
attachments: a table compiling information about each recapture and each yearly Indian Housing
Block Grant (IHBG) appropriation in relevant years, and a declaration identify the amount of
relevant year appropriations available at the time of the judgments. In each case, the Report and
Declaration filing can be found at the following docket numbers: Modoc Lassen Indian Hous.
Auth. v. U.S. Dep’t of Hous. & Urban Dev., No. 08-cv-02573-RPM (Modoc Lassen), ECF No.
98 (Mar. 30, 2018); Tlingit-Haida Regional Hous. Auth. v. U.S. Dep’t of Hous. & Urban Dev. et
                                                  4
       The HUD Table and HUD Declaration show that, as of the dates of the judgments, HUD

had already distributed or otherwise expended all relevant yearly IHBG appropriations except the

fiscal year (FY) 2008 appropriation.3 The HUD table further shows that there were recaptures of

FY 2008 funding from four plaintiff tribes, the Navajo Housing Authority (“Navajo”), the Spirit

Lake Housing Corporation (“Spirit Lake”), the Sicangu Wikoti Awanyakapi Corporation (“SWA

Corp.”), and the Winnebago Housing and Development Commission (“Winnebago”).4 The

HUD Table also shows the total judgment amount for all plaintiff tribes including the four tribes

with recaptures of FY 2008 funding.5 For the four plaintiff tribes with FY 2008 recaptures—

meaning they lost the recaptured amount of the FY 2008 IHBG appropriation—the amounts lost,

the judgment amounts, and the available FY 2008 appropriations at the time of judgment are as

follows:




al., No. 08-cv-00451-RPM, (Tlingit-Haida), ECF No. 112; Choctaw Nation of Oklahoma and
Hous. Auth. of the Choctaw Nation of Oklahoma v. U.S. Dep’t of Hous. & Urban Dev. et al., No.
08-cv-02577-RPM, (Choctaw), ECF No. 107; Navajo Hous. Auth. v. U.S. Dep’t of Hous. &
Urban Dev. et al., No. 08-CV-00826-RPM, (Navajo), ECF No. 110; Fort Peck, ECF No. 154;
Sicangu Wikoti Awanyakapi Corp. et al. v. U.S. Dep’t of Hous. & Urban Dev. et al., No. 08-cv-
02584-RPM (SWA Corp. et al.), ECF No. 114; Blackfeet et al., ECF No. 163. Appended here as
Appendix A is the filing in Modoc Lassen, ECF No. 98.
3
  See HUD Table, rows 1, 6-7, 9, 18, 30; HUD Declaration ¶¶ 7-12.
4
  HUD Table, column 11.
5
  HUD Table, column 13.
                                                5
                                           Reduction of FY 2008
    Plaintiff Tribe                        Funding (recapture)         Judgment Amount
    FY 2008 appropriations available as
    of judgment date*                              14,827,652
    Navajo                                          6,165,842               6,165,842
    FY 2008 appropriations available as
    of judgment date**                              8,566,448
    Spirit Lake                                        210,004                870,232
    SWA Corp.                                          174,752              1,117,171
 Winnebago                                           50,369               169,250
* This is the amount of FY 2008 IHBG appropriations available, but which were subject to this
Court’s orders enjoining HUD from distributing the funds to any tribe other than specific named
plaintiffs.6
** This is the amount of FY 2008 IHBG appropriations available after HUD’s restoration of
funding pursuant to the July 2014 orders in favor of Tlingit-Haida and Navajo.7


          B. The district court set-aside orders

          In 2008, the Court ordered HUD to set aside FY 2008 IHBG appropriations in three of

the cases here on remand. The set-aside orders are appended here. See Ex. 2. In Blackfeet et al.

and Tlingit Haida, the Court ordered HUD to set aside specific amounts of the FY 2008 IHBG




6
  See Modoc Lassen, 881 F.3d at 1196 n.10 (“the district court previously ordered HUD to set
aside a portion of the 2008 NAHASDA appropriation for the purpose of repaying the Tribes. To
the extent that (1) any of the Tribes allege that HUD wrongfully withheld 2008 NAHASDA
grant funds, and (2) the 2008 funds that HUD set aside were sufficient to cover those Tribes’
2008 losses, this sovereign-immunity analysis doesn’t apply.”). And see HUD Report and
Declaration at 9 (the $14,827,562 of FY 2008 IHBG appropriations remaining available before
the first judgment order in these cases “corresponds to the $14,827,562 total of FY 2008 funds
that HUD set aside pursuant to this Court’s stipulated and injunctive orders in Blackfeet et al. . . .
($8,206,219 for the ten plaintiffs), Tlingit-Haida . . . ($1,499,887 for Tlingit-Haida), and Navajo .
. . ($5,121,456 for Navajo).”).
7
  See HUD Report and Declaration at 10 (explaining that the reduction from $14,827,652 to
$8,566,448 equals $6,261,204, which corresponds to the $6,261,114 the Court ordered HUD to
restore to Tlingit-Haida and Navajo within 30 days of judgments entered on June 19 and June 30,
2014).
                                                   6
appropriation for each plaintiff in those cases.8 The orders prohibited HUD “until the litigation

is complete” from distributing the set aside the specified amounts to “any other tribe so that the

funds will be available if the Court subsequently order HUD to provide them for the Plaintiffs

under federal law.” Ex. 2 at 3, 12. In the third case, Navajo, the Court similarly ordered HUD to

set aside a specified amount of FY 2008 IHBG appropriations until the litigation is complete so

that the funds would “be available if the Court subsequently orders HUD to provide them for the

Plaintiff under federal law.” Ex. 2 at 21.

          The FY 2008 set asides totaled $14,827,562, consisting of a total of $8,206,219 for the

ten plaintiffs in Blackfeet et al., $1,499,887 for Tlingit-Haida, and $5,121,456 for Navajo. See

HUD Report and Declaration at 9. Of those plaintiffs with FY 2008 set asides, only Navajo had

a recapture that reduced its FY 2008 IHBG funding. See HUD Table, rows 3, 5, and 19-29.

          C. HUD’s restoration of funds pursuant to the judgment orders

          As the plaintiffs in these cases concede, HUD restored the funds as ordered in each of the

judgment orders. See Modoc Lassen, 881 F.3d at 1186 n.3. In accordance with the judgment

orders, HUD restored funds from the FY 2008 set asides for a plaintiff to the extent of the

amount set aside (if any) for that plaintiff, and if the set aside was insufficient or the plaintiff had

no set aside, HUD restored the remainder from funds available for FY 2015 IHBG grants to all

tribes.


8
  The plaintiffs in Blackfeet included Blackfeet Housing, Pueblo of Acoma Housing Authority,
Aleutian Housing Authority, Association of Village Council Presidents Regional Housing
Authority, Big Pine Paiute Tribe, Bristol Bay Housing Authority, Chippewa Cree Housing
Authority, Interior Regional Housing Authority (dismissed before the judgment currently at
issue), Isleta Pueblo Housing Authority, Northwest Inupiat Housing Authority, and Zuni Tribe.
The plaintiffs in Tlingit Haida included Tlingit Haida Regional Housing Authority and Cook
Inlet Housing Authority (dismissed before the judgment currently at issue).
                                                   7
        HUD notified all NAHASDA grantee tribes of this, including plaintiff tribes, when it

issued final allocations for FY 2015 IHBG grants to all tribes in February 2015. See Ex. 3 at 1

(FY 2015 IHBG Allocation cover letter dated Feb 13, 2015, explaining diversion of $9,808,804

to provide IHBG funds to 17 plaintiff tribes in accordance with court judgments in these cases,

as well as, for some plaintiffs, funds from FY 2008 IHBG appropriations); see also FY 2015

Final Summary - Needs and Allocation Narrative.9 HUD’s notice to all tribes including

plaintiffs stated that “[t]he Government is appealing these decisions to the United States Court of

Appeals for the Tenth Circuit.” Ex. 3 at 2; FY 2015 Final Summary - Needs and Allocation

Narrative.

        Similar notice was sent to Navajo and Tlingit-Haida when, within 30 days of their June

2014 judgments, HUD restored funds to them from the amount of FY 2008 IHBG appropriations

set aside for them pursuant to court order. See Ex. 4 (letters from HUD to judgment plaintiffs).

        D. The 10th Circuit reversal, in part, and remand

        HUD appealed the Court’s final judgments in all these cases. See Modoc Lassen, 881

F.3d 1181 (10th Cir. 2017) (listing all cases). As relevant here, the Tenth Circuit found that “the

district court [] ordered HUD to pay the Tribes by ‘substituting’ other funds for the funds to

which the Tribes were actually entitled—i.e., funds from past- or future-year NAHASDA

appropriations. Id. at 1196 (emphasis in original). It held that such substitute monetary relief

“constituted an order to provide ‘money damages rather than specific relief,’” and so violated

Congress’s limited waiver of sovereign immunity in 5 U.S.C. § 702. Id. at 1198 (quoting City of

Houston v. Dep’t of Hous. & Urban Dev., 24 F.3d 1421, 1428 (D.C. Cir. 1994). Accordingly,


9
    Available at https://www.hud.gov/sites/documents/FY15FINALNEEDSALLOCNAR.PDF.
                                                 8
the Tenth Circuit “reverse[d] that part of the district court’s order[s] [that] order[ed] the agency

to repay the recipients to the extent the agency had already redistributed or otherwise expended

the recaptured funds” and remanded “for factual findings regarding whether, at the time of the

district court’s order[s], HUD had the relevant funds at its disposal.” Modoc Lassen, 881 F.3d at

1186 and 1198 (emphasis added). The Tenth Circuit’s remand order would be superfluous if the

district court were not required to effectuate the higher court’s reversal of its judgments, to the

extent they are reversed.

        E. The HUD Report and Declaration provides the information needed for the
           Court to determine the extent to which its judgments are reversed.

        The Tenth Circuit’s remand requires the Court to determine the extent to which it could

have ordered HUD to restore an amount of funds to an individual plaintiff as specific relief in

accordance with the waiver of sovereign immunity in 5 U.S.C. § 702. Specific relief was

available only to the extent that, at the time of the judgment orders, HUD had not distributed or

otherwise expended IHBG appropriations for the yearly grant from which HUD had recaptured a

plaintiff tribe’s funding.

        HUD’s Report and Declaration provides the needed information, first, by restating the

amount and year of grant funding recaptured for each recapture from each plaintiff tribe,

according the records in these cases. See HUD Table, rows 2-5, 8, 10-17, and 19-29, columns 3-

11 and supporting footnotes and explanations in the accompanying report with citations to the

records in each case. It provides the needed information, second, by comparing the recapture

data to the amount of relevant fiscal year IHBG appropriations that were available, i.e., not

“already redistributed or otherwise expended,” or “at HUD’s disposal” to grant to an eligible

NAHASDA grantee. See HUD Table, highlighted rows 1, 6-7, 9, 18, and 30.

                                                  9
       As discussed above, specific relief was available for four plaintiff tribes: Navajo, Spirit

Lake, SWA, and Winnebago. This is because, as shown in column 11 of the HUD Table, the

only yearly appropriations available at the time of any tribe’s judgment was FY 2008 IHBG

appropriations, and only the four plaintiffs just listed had recaptures from the amount of FY 2008

IHBG grants to which they were otherwise entitled. Compare HUD Table, columns 3-10 with

column 11.

       Other than the amounts shown in column 11 of the HUD table, the judgment amounts for

all plaintiffs were substitute monetary relief reversed by the Tenth Circuit because they

constituted money damages in violation of the limited waiver of sovereign immunity in 5 U.S.C.

§ 702 for relief “other than money damages.”

       The reversed judgment amounts are thus as follows:




                                                10
                                                       Less Recapture           Equals
                                                            From               Substitute
                                                       Appropriations          Relief, the
                                                        Available For           Amount
                                    Judgment           Specific Relief        Reversed by
 Plaintiff Tribe                     Amount              (FY 2008)*           10th Circuit
 Modoc Lassen                             146,764                    0              146,764
 Tlingit-Haida                          1,139,658                    0            1,139,658
 Choctaw                                  841,316                    0              841,316
 Navajo                                 6,165,842          6,165,842                      0
 Fort Peck                                513,354                    0              513,354
 SWA Corp et al.
 Lower Brule                              372,442                    0              372,442
 Oglala Sioux (Lakota)                    654,053                    0              654,053
 Spirit Lake                              870,232            210,004                660,228
 SWA                                    1,117,171            174,752                942,419
 Trenton Indian                           413,408                    0              413,408
 Turtle Mountain                        1,790,375                    0            1,790,375
 Winnebago                                169,250             50,369                118,881
 Blackfeet et al.
 Pueblo of Acoma                           56,106                    0               56,106
 Aleutian                                 145,089                    0              145,089
 Ass’n of Village Council
 Presidents                             1,402,062                    0            1,402,062
 Big Pine Paiute                          264,832                    0              264,832
 Blackfeet                                575,510                    0              575,510
 Bristol Bay                              230,145                    0              230,145
 Chippewa Cree                            656,200                    0              656,200
 Isleta Pueblo                            121,285                    0              121,285
 Northwest Inupiat                      1,656,043                    0            1,656,043
 Zuni                                   1,498,090                    0            1,498,090
* Amounts available but for the Court’s set-aside orders.
Entries in grey text denote plaintiffs in cases that are currently stayed.

       The table above represents the state of the funds available but for the Court’s set-aside

orders, which prohibited distribution of otherwise available FY 2008 IHBG appropriations until

completion of the litigation “to any other tribe so that the funds will be available if the Court


                                                  11
subsequently orders HUD to provide them for the Plaintiffs under federal law.” See e.g., Ex. 2 at

2-3; see also Modoc Lassen, 881 F.3d at 1196 n.10 and 1199 n.12 (affirming judgments to the

extent covered by set asides for that plaintiff). To effectuate the Tenth Circuit’s partial reversal

and remand, the Court could amend its set-aside orders, nunc pro tunc, so that the valid claims

for specific relief from FY 2008 appropriations otherwise available at the time of judgment (by

Navajo, Spirit Lake, SWA, and Winnebago) are not found invalid because of set asides for

plaintiff tribes that have no valid claim for specific relief from FY 2008 appropriations.

Argument

       To effectuate the Tenth Circuit’s partial reversal and remand, the Court should amend its

set-aside orders nunc pro tunc and order restoration of all but the judgment amounts to Navajo,

Spirit Lake, SWA, and Winnebago that would thus have been orders for specific relief from FY

2008 IHBG appropriations.

       A. The amount of each judgment order that was reversed by the Tenth Circuit
          should be returned to HUD for distribution to all Tribes in accordance with
          NAHASDA.

       The Supreme Court has long since “given recognition to the rule as one of general

application that what has been lost to a litigant under the compulsion of a judgment shall be

restored thereafter, in the event of reversal, by the litigants opposed to him, the beneficiaries of

the error.” Atlantic Coast Line R.R. Co. v. Florida, 295 U.S. 301, 309 (1935); see also States v.

Morgan, 307 U.S. 183, 197-98 (1939); Baltimore & Ohio R.R. v. United States, 279 U.S. 781,

785-87 (1929). The Tenth Circuit has also recognized this rule, holding that “[s]hould [a]

judgment be reversed on appeal, a district court may, on motion or sua sponte, order the

judgment creditor to restore the benefits obtained.” Strong v. Laubach, 443 F.3d 1297, 1300


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(10th Cir. 2006) (citing Baltimore & Ohio R.R., 279 U.S. at 786; Restatement of Restitution § 74

cmt. a). Not only private parties, but also the Federal Government may be entitled to restitution.

Laskowski v. Spellings, 443 F.3d 930, 934 (7th Cir. 2006) (citing e.g., Wyandotte Transp. Co. v.

United States, 389 U.S. 191, 203-05 (1967)); id. at 944 (same in dissenting opinion).

       Here the Tenth Circuit “reverse[d] that portion of the district court’s order[s]” “to the

extent the agency had already redistributed or otherwise expended the recaptured funds.” Modoc

Lassen, 881 F.3d at 1186. As shown above, “the agency had already redistributed or otherwise

expended” all the yearly appropriations for grants from which HUD had recaptured funds—

except in the case of the recaptures from FY 2008 grants to Navajo, Spirit Lake, SWA, and

Winnebago.

       It could be argued that—notwithstanding the fact that the FY 2008 IHBG appropriations

were not distributed or otherwise expended at the time of the judgments for those four

plaintiffs—those funds were not “at HUD’s disposal” because they were subject to the court-

ordered set asides requiring that they remain available for other plaintiffs until the completion

of those other plaintiffs’ litigation. However, HUD believes the Court can determine that,

because the Tenth Circuit has held that only tribes with FY 2008 recaptures can have a claim

“under federal law” for relief from FY 2008 funds set aside, the set-aside orders should be

amended nunc pro tunc so that the FY 2008 set-aside funds may be considered to have been

available to Navajo, Spirit Lake, SWA, and Winnebago at the time of their judgments so that

specific relief was available. HUD would not oppose such amendments.10



10
  This would require amending the set-aside order in Blackfeet et al., which is currently stayed,
and those plaintiffs may want to be heard on that issue. There are, in any case, further
                                                13
       Assuming amendment of the set-aside orders, the Tenth Circuit reversed the judgment

orders to the following extent:

                                                       Less Recapture          Equals
                                                            From              Substitute
                                                       Appropriations         Relief, the
                                                        Available For          Amount
                                    Judgment           Specific Relief       Reversed by
 Plaintiff Tribe                     Amount              (FY 2008)           10th Circuit
 Modoc Lassen                             146,764                    0            146,764
 Tlingit-Haida                          1,139,658                    0          1,139,658
 Choctaw                                  841,316                    0            841,316
 Navajo                                 6,165,842          6,165,842                    0
 Fort Peck                                513,354                    0            513,354
 SWA Corp et al.
 Lower Brule                              372,442                    0            372,442
 Oglala Sioux (Lakota)                    654,053                    0            654,053
 Spirit Lake                              870,232            210,004              660,228
 SWA                                    1,117,171            174,752              942,419
 Trenton Indian                           413,408                    0            413,408
 Turtle Mountain                        1,790,375                    0          1,790,375
 Winnebago                                169,250             50,369              118,881
 Blackfeet et al.
 Pueblo of Acoma                           56,106                    0             56,106
 Aleutian                                 145,089                    0            145,089
 Ass’n of Village Council
 Presidents                             1,402,062                    0          1,402,062
 Big Pine Paiute                          264,832                    0            264,832
 Blackfeet                                575,510                    0            575,510
 Bristol Bay                              230,145                    0            230,145
 Chippewa Cree                            656,200                    0            656,200
 Isleta Pueblo                            121,285                    0            121,285
 Northwest Inupiat                      1,656,043                    0          1,656,043
 Zuni                                   1,498,090                    0          1,498,090
Entries in grey text denote plaintiffs in cases that are currently stayed.


proceedings in the active cases to be resolved, including HUD’s pending stay motions and
briefing on Plaintiffs’ motion for additional information.
                                                  14
        Those reversed judgment amounts should therefore be returned to HUD.

        B. Restitution of the reversed judgment amounts is not inequitable.

        Restitution is an equitable remedy. Atlantic Coast Line R.R., 295 U.S. at 309. Should a

judgment be reversed, it is the presumptively equitable outcome. “A person who has conferred a

benefit upon another in compliance with a judgment or whose property has been taken

thereunder, is entitled to restitution if the judgment is reversed, or set aside, unless restitution

would be inequitable.” Restatement of Restitution § 74 (1937) (emphasis added). See also

Strong v. Laubauch, 443 F.3d at 1300 (a district court may order restitution of a reversed

judgment “sua sponte,” without review of the equities). In other words, a litigant’s retention of

the benefit conferred by an erroneous judgment is presumptively unjust.

        In keeping with this presumption, the Tenth Circuit remanded the cases for fact-finding

about the extent to which its judgment orders were reversed in each case. The Tenth Circuit

could have no reason to mandate this fact-finding if it did not intend for the Court to actually

reverse the fund transfer from HUD to a plaintiff “to the extent” the transfer was substitute

monetary relief in violation of the sovereign immunity reserved by Congress in 5 U.S.C. § 702.

If the plaintiffs were entitled to retain the amount of funding that HUD was wrongly compelled

to divert from grants to other IHBG recipient tribes, the fact-finding ordered by the Tenth Circuit

would be moot and the remand superfluous. The Tenth Circuit’s determination that restoration

of the wrongful judgments is thus necessarily implied in its remand order.

        Nor is there any reason to find restitution inequitable here.

        First, by restoring the wrongful judgment funds to HUD, they will be restored to all

IHBG recipient tribes in accordance with each tribe’s right to them under NAHASDA.


                                                  15
NAHASDA requires that all funds made available in a given year shall be allocated for IHBG

grants according to formula. 24 U.S.C. § 4151. When the wrongful judgment amounts become

available by return to HUD, they will be redistributed in the next yearly IHBG allocation to all

tribes (including the plaintiffs).

        The converse of this fact is that allowing the plaintiffs to retain the judgment funds would

inequitably deprive all the other IHBG recipient tribes of NAHASDA funds they would have and

should have received but for the erroneous judgments. See Ex. 3 (FY 2015 Final Allocation

cover letter explaining that the judgments reduced the amount granted to all other tribes,

including plaintiffs with respect to judgments for other plaintiffs); see also FY 2015 Final

Summaries (MS-Excel)11 (showing in column “W” the amount each tribe lost as a result of the

judgment orders, and showing e.g., at row 313, that Navajo lost $1,365,061 in FY 2015 due to

the judgments for the other plaintiffs). As recognized by the Tenth Circuit, because HUD must

distribute available appropriations amongst all eligible tribes from a finite yearly pool, the

wrongful overfunding of one tribe deprives all other tribes of their due amount of IHBG funding.

See Modoc Lassen, 881 F.3d at 1186.

        Second, allowing the plaintiffs to retain the judgment funds in violation of the

Government’s sovereign immunity would be contrary to foundational public interest in a

government of separated powers. The Tenth Circuit held that the Court’s orders constituted

awards of money damages barred by sovereign immunity. Modoc Lasssen, 881 F.3d at 1195-96.

Equitable principles cannot waive sovereign immunity. See Lane v. Pena, 518 U.S. 187, 192



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   Available at
https://www.hud.gov/program_offices/public_indian_housing/ih/codetalk/onap/ihbgformula.
                                                 16
(1996) (waivers of sovereign immunity must be unequivocally expressed in statutory text);

Library of Congress v. Shaw, 478 U.S. 310, 318 (1981) (“Limitations and conditions upon which

the Government consents to be sued musts be strictly observed and exceptions thereto are not to

be implied.”). Denying return of the judgment amounts reversed because they violated the

Government’s sovereign immunity because it might seem fair would allow courts, not Congress,

to carve out an exception to the Government’s sovereign immunity at the risk of upsetting the

separation of powers. See Vicki C. Jackson, Suing the Federal Government: Sovereignty,

Immunity, and Judicial Independence, 35 Geo. Wash. Int’l L. Rev. 521-609 (2003) (discussing

how sovereign immunity has functioned as a separation of powers doctrine); Harold J. Krent,

Reconceptualizing Sovereign Immunity, 45 V. and L. Rev. 1529, 1530 (1992) (arguing that much

of federal sovereign-immunity doctrine is supported by “a desire to maintain a proper balance

among the branches of the federal government”).

       Finally, restitution can be found inequitable if a recipient “relied to its detriment on [a]

reasonable belief that it was legally entitled” to the benefit conferred. Laskowski, 443 F.3d at

936. But that is not the case here. All the plaintiff tribes were aware that their entitlement to the

judgment funds was disputable, actually disputed, and subject to reversal on HUD’s appeal to the

Tenth Circuit.

       Plaintiffs were aware their right to substitute monetary relief was a disputed issue. This

Court held in 2006 that a plaintiff tribe had no entitlement to a judgment order that then, as now,

would have constituted substitute monetary relief. Fort Peck Hous. Auth. v. United States HUD,

No. 05-cv-00018-RPM, 2006 U.S. Dist. LEXIS 53203, *4 (D. Colo. Aug. 1, 2006). Although

the Court later reconsidered that holding, Fort Peck Hous. Auth. v. United States HUD, No. 05-


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cv-00018-RPM, 2014 U.S. Dist. LEXIS 31012, *16-*17 (D. Colo. Mar. 7, 2014), that occurred

after the parties disputed the issue in briefing to the Court. Id. at *14-*15.

       Moreover, HUD made clear to the plaintiffs that their right to the judgment funds was

subject to its appeal to the Tenth Circuit. At the time HUD provided the judgment funds to the

plaintiffs in compliance with the Court’s orders, HUD advised the tribes that HUD was

appealing the judgments to the Tenth Circuit and even more specifically, that “[i]f the

Government . . . is successful [on appeal], the Government may seek to recover these funds by

any appropriate means.” Ex. 3 at 1; and e.g., Ex. 4 at 1, 3. There is no inequity here based on

detrimental reliance. Cf. Strong, 443 F.3d at 1300 (rejecting argument that restitution would be

inequitable because plaintiff relied on what was a lawful judgment before appeal).

       Accordingly, the Court should order the plaintiffs to return the amount of funds that HUD

provided them pursuant to the judgment orders, to the extent those judgments are reversed as

specified above.

Conclusion

       For the reasons given above, the Court should—assuming that it amends the set-aside

orders as described above—order the tribes in the active cases to return to HUD the following

amounts of judgments that the Tenth Circuit reversed:




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                                                Amount To be
                                                  Returned
                                                (Reversed by
                     Plaintiff Tribe             10th Circuit)
                     Modoc Lassen                      146,764
                     Tlingit-Haida                   1,139,658
                     Choctaw                           841,316
                     Navajo                                  0
                     SWA Corp et al.
                     Lower Brule                       372,442
                     Oglala Sioux (Lakota)             654,053
                     Spirit Lake                       660,228
                     SWA                               942,419
                     Trenton Indian                    413,408
                     Turtle Mountain                 1,790,375
                     Winnebago                         118,881




Dated May 14, 2018                           Respectfully submitted,

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                           CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on May 14, 2018, I electronically filed the foregoing with the Clerk
of Court using the ECF system which will send notification of such filing to the following e-mail
addresses:

       jon@stsl.com (in Tlingit-Haida)
       ckaufman@quarles.com (in Navajo)
       drapport@pacbell.net (in Modoc)
       lbullock@bullocklawtulsa.com (in Choctaw)
       wagenlander@wagenlander.com, amberlh@wagenlander.com,
       blainmyhre@gmail.com (in SWA)

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participants in the manner (mail, hand delivery, etc.) indicated by the nonparticipant’s
name:



                                            s/ Timothy B. Jafek
                                            Timothy B. Jafek




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